Case 1:06-cr-00020-IMK-MJA Document 936 Filed 11/13/12 Page 1 of 6 PageID #: 2622
Case 1:06-cr-00020-IMK-MJA Document 936 Filed 11/13/12 Page 2 of 6 PageID #: 2623
Case 1:06-cr-00020-IMK-MJA Document 936 Filed 11/13/12 Page 3 of 6 PageID #: 2624
Case 1:06-cr-00020-IMK-MJA Document 936 Filed 11/13/12 Page 4 of 6 PageID #: 2625
Case 1:06-cr-00020-IMK-MJA Document 936 Filed 11/13/12 Page 5 of 6 PageID #: 2626
Case 1:06-cr-00020-IMK-MJA Document 936 Filed 11/13/12 Page 6 of 6 PageID #: 2627
